Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 1 of 22




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                          MDL NO. 2924
   PRODUCTS LIABILITY                                                                   20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART
   _______________________________/

   THIS DOCUMENT RELATES TO ALL CASES

                                     PRETRIAL ORDER #15
                           Order on Procedures for Implementing Census

           At the Court’s request, counsel for Plaintiffs and Defendants conferred to formulate an

   initial census process to assist in overall effective case management and the orderly and efficient

   progression of this proceeding. Jaime Dodge, Director of the Institute of Complex Litigation and

   Mass Claims at Emory Law School, and Special Master in this MDL, provided guidance and

   assistance to the parties in their negotiations to create a census process best situated to the unique

   needs of this litigation. This Order governs the form and schedule for service of an Initial

   Census Form (“ICF”) for all cases filed in MDL No. 2924 as well as certain unfiled cases, and a

   Census Plus Form (“CPF”) for personal injury and medical monitoring cases in this MDL. In

   addition, this Order provides for the creation of a voluntary Census Registry of potential unfiled

   claims. 1




   1
     As it relates to the CFP or the Census Registry, all references to “cases” or “claims” in this
   Order apply only to cases or claims alleging personal injury or the need for medical monitoring
   from ingestion of Zantac and/or ranitidine. The Census Plus Form for plaintiffs alleging solely
   economic loss will be addressed in a subsequent order if it appears necessary as the case
   progresses; it is not presently contemplated that these plaintiffs will be eligible for participation
   in the Census Registry.
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 2 of 22




           The parties have worked diligently together to create a census program that enables the

   parties and the Court to have a robust and timely understanding of the scope and size of the

   litigation relating to Zantac and/or ranitidine in order to facilitate early case management

   decisions that match the contemplated nature of the litigation. Counsel on both sides

   collaborated to create a unique mechanism to permit a more thorough census of filed cases and

   unfiled claims.

           As detailed in this Order, the parties created a framework that provides for a two-step

   census process. The Initial Census will provide preliminary information on all filed claims,

   within 30 days of this Order. In addition, the Initial Census will provide the Court with select

   information regarding the nature of the full inventory of retained clients for each applicant for

   plaintiffs’ leadership, to assist the Court in selecting a leadership team that can most adequately

   and effectively represent the interests of the array of plaintiffs in this matter.

           The parties also provided for a second phase of the census, which will provide additional

   information to the Court via a CPF. This information may take longer to gather, and thus has

   been set for a second phase of collection to avoid delaying the selection of plaintiffs’ leadership.

   The parties have agreed to a more robust CPF to be completed and submitted for all filed cases

   on a scheduled basis.

           In addition, the parties have agreed to the creation of a voluntary opt-in Registry, which

   permits additional transparency for the Court and leadership counsel into the claims that are still

   being investigated and developed, and thus remain unfiled. Specifically, as to those cases and

   claims that are properly registered, the parties have provided for a joint and collaborative process

   for assisting retained counsel in the retrieval of selected medical and/or purchase records,




                                                      2
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 3 of 22




   culminating in the creation of a robust database of information as to the alleged injuries and

   usage.

            The parties contemplate that this census process will enable the parties and Court to have

   better information to target their resources toward an efficient management of this litigation. In

   order to accomplish this objective, both parties have negotiated in good faith and made

   concessions for the benefit of the litigation as a whole.

            The parties stipulate to the content and timing of the census process, and the Court hereby

   ORDERS:

   Initial Census Form
      1. Filed Cases. An Initial Census Form (“ICF”), attached hereto as Exhibit A, must be

            completed for every case that has, by 11:59pm ET on April 27, 2020, either been filed in

            or has been transferred to this MDL. This includes both cases filed in this District prior

            to the creation of this MDL and cases direct filed since the MDL’s creation, as well as all

            cases transferred to this Court (whether removed to this Court, transferred to this Court,

            or otherwise); hereinafter, the term “Plaintiff” refers to any and all named plaintiff(s) in

            cases within this MDL, regardless of where filed.

      2. Unfiled But Retained Clients of Leadership Applicants. Any attorney who has applied for

            a leadership position through appointment to the Plaintiffs’ Steering Committee (“PSC”)

            in accordance with Pretrial Order #1 is required to submit an ICF for his/her firm’s entire

            inventory of cases.

               a. Counsel must submit an ICF for all individuals who signed a retainer agreement

                   with the leadership applicant’s firm before April 1, 2020.




                                                      3
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 4 of 22




             b. Counsel may voluntarily submit an ICF for individuals who retain the leadership

                applicant’s firm on or after April 1, 2020, but are not required to do so if it is not

                possible to gather the required information by the census deadline.

      3. Plaintiffs shall submit the completed ICFs through the LMIExchange platform, according

         to submission guidelines to be provided through the vendor.

             a. Data may be directly entered into LMIExchange or uploaded via spreadsheet.

                When counsel (or his/her designee) uploads an ICF via spreadsheet through the

                LMIExchange platform, it shall be clearly labeled “Initial Census Form.”

             b. Counsel shall choose the “Initial Census Form” submission option available

                through the LMIExchange platform and shall submit (via direct entry or

                spreadsheet upload) the client’s ICF data under the client’s case-specific docket

                number, for any case that has been filed in any court, in order to facilitate tracking

                of these cases.

             c. For filed Plaintiffs and unfiled but retained clients, the identifying information

                and medical and other records provided will not be provided to any counsel other

                than the firm completing the ICF and any listed co-counsel. The identifying

                information shall be used by the platform vendor only for the purpose of notifying

                counsel of potential duplicate representations and for aggregate data analytics.

             d. In light of this restriction on the use of identifying information, the platform

                vendor shall provide a unique user identification number for each individual

                whose data is entered (whether it is a filed Plaintiff or unfiled but retained client).




                                                   4
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 5 of 22




      4. Deadlines.

             a. All ICFs must be submitted by 3pm ET on April 30, 2020. This deadline applies

                to both all filed Plaintiffs (pursuant to paragraph 1) and unfiled retained clients of

                leadership applicants (pursuant to paragraph 2).

             b. Any filed Plaintiff who does not submit an ICF as required by this Order, absent

                good cause shown, shall be subject to sanctions, up to and including dismissal of

                the case. Counsel are therefore strongly advised to submit all ICFs by noon on

                April 29, 2020, if not sooner, to allow adequate time for any technical errors that

                may occur in bulk data uploads, system crashes, etc.

             c. The LMIExchange platform permits the entry of data for any retained client, and

                thus counsel are strongly encouraged to begin data entry upon notice of transfer of

                any case to this MDL, or in advance of filing for those cases that will be filed on

                or before April 27.

      5. For filed cases, the ICF requires a Plaintiff to provide documentation regarding his/her

         medical diagnosis. The Court anticipates that, because these cases already have been filed,

         many Plaintiffs and/or their counsel will have the relevant medical record(s) available to

         be provided with the ICF. To the extent that the relevant medical record(s) have not yet

         been obtained and/or the Plaintiff has no documentation regarding the alleged injury or

         product use, the ICF requires the Plaintiff to provide a signed statement attesting to his/her

         claimed medical diagnosis and/or Zantac use. Given commonly available technologies

         (scanning, texting of photos, etc.), the Court expects that most if not all Plaintiffs in this

         category should be able to provide such signed statements. However, to the extent that any

         particular Plaintiff cannot do so in light of limitations caused by the current COVID-19



                                                   5
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 6 of 22




         situation, he/she may provide an unsigned email confirmation to counsel attesting to the

         claimed medical diagnosis and/or Zantac usage. The Court has provided counsel with the

         option to attach a letter from counsel if even with these accommodations the Plaintiff is

         unable to provide any such documentation.

      6. The ICF shall be deemed served on Defendants on the date it is made available to them

         electronically through the LMIExchange platform. No paper service will be permitted.

      7. It is important that the Court have a complete and accurate census. The Court therefore

         requires completion of a certification by every law firm either completing an ICF and/or

         applying for leadership in this litigation, as follows:

             a. Complete & Accurate Responses. Every firm completing an ICF for any client as

                well as all firms whose attorneys are applicants for leadership/PSC appointments

                in this MDL shall provide a certification that (1) all responses provided in the

                ICF are accurate and correct to the best information and knowledge of the attorney

                and his/her firm, and (2) every client whose data was required to be submitted as

                part of the census process has submitted an ICF. If any firm cannot make this

                certification to the Court, an explanation shall be provided to the Court. A firm that

                is merely listed as co-counsel in a case (rather than the firm responsible for

                completing the ICF) need not provide a certification unless that firm has an attorney

                applying for leadership in this MDL.

             b. Claimant Distribution. To facilitate case management and contracting for services

                for the Registry, it would assist the Court to have the best estimate of either the

                number or percentage of claims held by each firm completing an ICF for any client

                and each leadership applicant attorney (whichever the attorney deems most



                                                    6
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 7 of 22




               practicable) that will be: (a) entered in the Registry once it is open as an unfiled

               case, (b) have been or will be filed in the MDL (without prior use of the unfiled

               claims Registry), and (c) for which the firm has not yet made a determination as to

               whether the case will be filed in either the MDL or the Registry. Every firm

               submitting a certification letter to the Court is requested to provide such a statement

               in their letter to assist the Court. This information shall be submitted by all firms

               whose attorneys are applicants for leadership/PSC appointments in this MDL as

               part of their certification to the Court.

            c. Additional Retained Clients. The Court encourages leadership applicants to use

               their best efforts to voluntarily submit initial census data for clients who retained

               the applicant’s firm after the date of this Order but on or before April 27, 2020. To

               the extent this is not feasible, the applicant shall include in the certification the

               number of clients who retained the applicant’s firm during this period but did not

               submit an ICF. Specifically, the attorney shall designate the number of retained

               clients who in their intake alleged: (1) cancer, (2) other physical injury (non-

               cancer), (3) medical monitoring (but no physical injury), (4) economic loss only

               (no physical injury or medical monitoring), or (5) do not know what injury the client

               is reporting. Each retained client shall only be listed in one of those five categories,

               and the total number of retained clients not included in the census shall be listed as

               well.

            d. By 5pm ET on April 30, 2020, the certification shall be submitted as a single PDF

               letter attachment via email to zantac_mdl@flsd.uscourts.gov:




                                                  7
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 8 of 22




                      i. All firms completing an ICF for one or more clients, but whose firm is not

                         applying for a leadership role, shall submit a certification (or explanation of

                         failure to provide such certification) and, if counsel is willing to assist the

                         Court by doing so, an anticipated claimant distribution, as described above.

                         If multiple attorneys from the firm were responsible for completion of the

                         ICFs, only one letter should be submitted per firm.

                      ii. All leadership applicants shall submit a certification (or explanation of

                         failure to provide such certification), anticipated claimant distribution, and

                         statement of additional retained clients through April 27, 2020 who have

                         not completed an ICF.           Firms that have multiple applicants for a

                         leadership/PSC position should submit one letter, which is approved and

                         signed by all leadership/PSC applicants. (In light of limitations caused by

                         the current COVID-19 situation, separate signature pages may be attached

                         if this is more practicable.)



   Census Plus Form

      1. All filed Plaintiffs in the MDL will be required, through counsel, to submit a completed

         Census Plus Form (“CPF”), attached hereto as Exhibit B, through the LMIExchange

         platform, according to submission guidelines to be provided by the vendor. Plaintiff’s

         counsel shall also upload with their CPF all documents responsive to the document requests

         contained therein. The CPF shall also include a certification from the submitting Plaintiff,

         attesting to the accuracy of the submitted information under oath.




                                                    8
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 9 of 22




      2. LMI will notify counsel of record when the CPF is available for completion on the

         LMIExchange platform, but by no later than May 1, 2020. Counsel are encouraged to

         begin timely submitting their CPF as soon as practicable, not only to facilitate case

         management but also because completion of the CPF triggers eligibility for certain

         assistance with obtaining certain records (as described below in paragraph 1, under

         “Additional Terms”).

      3. If producing healthcare or other records (hereinafter “medical records”) in conjunction with

         the CPF, Plaintiffs shall accomplish service exclusively by uploading those medical

         records through the LMIExchange platform. No paper production or service shall be

         permitted.

      4. Deadline for CPF Submission.

             a. Cases Pending in the MDL on the Date of the Order Designating Appointment of

                 the PSC. Within sixty (60) days from the date of the Order designating the

                 appointment of the PSC, counsel to Plaintiffs in the MDL shall submit a completed

                 CPF and also upload all documents responsive to the document requests contained

                 therein.

             b. Cases Filed After the Date of the Order Designating Appointment of the PSC.

                 Within sixty (60) days from the date of any new case being filed in or transferred

                 to this MDL, Plaintiff’s counsel shall submit a completed CPF and also upload all

                 documents responsive to the document requests contained therein.

      5. Plaintiffs with filed cases who fail to submit complete CPFs and accompanying

         documentation by the deadline will receive notice in accordance with details to be provided

         through the vendor. Any Plaintiff in a filed case who does not timely cure an important



                                                  9
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 10 of 22




          deficiency, absent good cause shown, may be subject to sanctions, up to and including

          dismissal of the case.



    Census Registry

       1. Plaintiffs’ law firms that have clients with potential claims related to Zantac and/or

          ranitidine products whose cases have not yet been filed are encouraged to submit a

          completed CPF for each unfiled claim through the LMIExchange platform and become

          part of the Census Registry (hereinafter “Registry”).       No Claimant is obligated to

          participate in the Registry. The term “Claimant” hereinafter refers to individuals who want

          to participate in the Registry, but who have not yet filed a lawsuit relating to the subject

          matter of this MDL in either state or federal court.

       2. The CPF will be available for completion on the LMIExchange platform, by no later than

          May 1, 2020. Counsel are encouraged to begin timely submitting their CPF, not only to

          facilitate case management but also because completion of the CPF triggers eligibility for

          the Registry benefits, including the start of tolling and eligibility for certain records

          retrieval assistance.

       3. Timing of Registration/ Registration Cutoff

              a. For Claimants who sign retention agreements prior to the Order designating the

                  appointment of the PSC, the CPF must be submitted to LMIExchange within ninety

                  (90) days from the date of the appointment of the PSC, in order to be eligible to

                  participate in the Registry.

              b. For any Claimants who sign retention agreements after the Order designating the

                  appointment of the PSC, the CPF must be submitted to the LMIExchange within



                                                   10
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 11 of 22




                  thirty (30) days from the end of the quarter within which the Claimant retained

                  counsel to be eligible to participate in the Registry.

       4. Claimants shall upload with their CPF the documents they have collected that are

          responsive to the document requests contained therein. For those Claimants who request

          documents through the Registry vendor, such documents shall be provided by a later date

          to be agreed by the parties and Special Master Jaime Dodge. The CPF shall also include a

          certification from the Claimant, attesting to the accuracy of the submitted information

          under oath. Claimants who complete the CPF pursuant to this paragraph will be deemed

          enrolled in the Registry. For purposes of the Registry, cases that could be properly filed in

          either federal or state courts can be registered.

       5. Participation in the Registry will toll the applicable statute of limitations as of the date of

          the uploading of the CPF; however, such tolling will expire ninety (90) days after the date

          that the Claimant exits the Registry or ninety (90) days after the date that the Registry

          expires, as set forth below, whichever comes first.

       6. Claimants who participate in the Registry commit to filing any action relating to Zantac or

          any ranitidine products, if at all, before this Court in MDL No. 2924. Claimants within the

          Registry either shall file their complaints in any federal court and not oppose transfer to

          the MDL, or may file their complaints directly in the MDL pursuant to the as-entered Direct

          Filing Order (Pretrial Order #11). Claimants further commit, to the extent that they file an

          action, to name only those defendants that they have a good faith belief marketed or

          manufactured Zantac or ranitidine products that such Claimants ingested or that they in

          good faith believe they may have a valid claim against for other reasons. The requirement




                                                    11
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 12 of 22




          to file in a federal court shall not be applicable to actions as to which a federal court would

          lack diversity jurisdiction.

       7. The Court expects that discovery will proceed in a timely and efficient manner, the

          specifics of which will be set out in subsequent orders. If this Court should find it

          appropriate to order case-specific discovery before a Daubert ruling on general causation,

          the only cases that will be considered for any initial phases of case-specific discovery will

          be filed cases and claims that are listed in the Registry. By participating in the Registry, a

          Claimant consents to having his or her claim selected for initial phases of case-specific

          discovery. If selected for case-specific discovery, the Claimant shall either file his or her

          action or exit the Registry within thirty (30) days of selection.

       8. The Registry will expire thirty (30) days after the Court issues a decision on Daubert

          motions directed to the issue of general causation. After expiration, the Registry will

          remain accessible for purposes of review and supplementation.

       9. The parties agree that the Registry process is being created with the intent to trigger

          expiration of the Registry and associated tolling upon entry of an Order ruling upon

          Daubert motions directed to general causation. The Court will set a schedule for such

          Daubert motions in a future Order, but expects the parties to work diligently to obtain

          discovery relevant to such motions. However, if Daubert motions are not fully briefed

          within eighteen (18) months of the entry of this Order, then any Defendant may, at its sole

          option, terminate the tolling agreement with respect to the claims tolled against that

          Defendant. If that Defendant decides to terminate the Tolling Agreement, then tolling shall

          expire ninety (90) days after that Defendant provides notice of that decision.




                                                    12
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 13 of 22




       10. The purpose of the Registry is to encourage Plaintiffs’ counsel with unfiled claims to

          register these claims, although registration is not mandatory. However, failure to provide

          important information within the applicable deadlines noted (as detailed in Paragraph 11),

          absent good cause shown, will result in exclusion of the case from the Registry, and

          inability to partake in any benefits associated with the Registry including but not limited

          to tolling of the statute of limitations, cost sharing with respect to obtaining medical records

          and other documentation, federal court orders facilitating discovery, and other benefits that

          the parties may negotiate or decide to extend to those Plaintiffs and Claimants who have

          filed their cases or claims in federal court or in the Registry.

       11. The parties have agreed to the creation of the Registry in contemplation of the mutual

          benefits to Plaintiffs and Defendants alike of robust participation in the Registry, while

          simultaneously recognizing that registrations must be undertaken in good faith and be

          complete to be useful for data analytics. Claimants who fail to submit complete CPFs and

          accompanying documentation will receive notice of any incomplete, presumptively

          erroneous or missing information, in a manner agreed to by the parties. By registering, the

          individual and his/her counsel agree that if important information remains incomplete or

          missing, the matter will be referred to Plaintiff’s counsel or a vendor at Plaintiffs’ cost in

          an attempt to gather the required information. Claimants who fail to cooperate may be

          subject to removal from the Registry and the loss of benefits associated therewith. If a

          claim is removed from the Registry, then tolling for that claim shall expire ninety (90) days

          after the claim is removed from the Registry.




                                                    13
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 14 of 22




    Additional Terms

       1. One of the benefits extended to Claimants who participate in the Registry, as well as filed

          Plaintiffs, is assistance in obtaining certain documents that reflect use of the product or

          diagnosis of the alleged injury. The appointed counsel for Plaintiffs and Defendants will

          retain selected vendor(s) to request and obtain records for each individual who has

          completed a CPF, whether the individual has filed a claim in the MDL or is a Registry

          claimant who has not yet filed a claim. The vendors will be directed to obtain a medical

          record sufficient to evidence an initial diagnosis of cancer (or other alleged physical

          injury). In addition, the vendors will be directed to seek certain documents evidencing

          proof of usage of Zantac and/or ranitidine products potentially including, but not limited

          to, prescription records, pharmacy loyalty rewards program records and other records of

          usage, as agreed upon by the parties. It is anticipated that some filed Plaintiffs and unfiled

          Claimants will submit affidavits as documentation of proof of usage of Zantac and/or

          ranitidine products in the event that other documentation is not available. Individuals who

          do not allege cancer or other diagnosed physical injury, but instead allege a medical

          monitoring claim without an underlying, diagnosed physical injury, are not eligible for the

          records retrieval program described in this paragraph.

       2. To register for access to the LMI Exchange census platform, a representative for each

          Plaintiffs’ law firm will need to complete a Registration Form, which is available

          at www.lmiweb.com/ranitidineregistration. Once the Registration Form is submitted, LMI

          will provide access credentials to each authorized user. The LMI Exchange platform can

          be accessed at www.lmi-med.com. Submission guidelines for the ICF and CPF will be

          provided by LMI and will be available on www.lmi-med.com. For technical support,



                                                   14
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 15 of 22




           Plaintiff firms may contact David Stakes (david.stakes@lmiweb.com) or call 440-484-

           2030; defense firms may contact Amber Mishler (amber.mishler@lmiweb.com) or call

           440-684-8547.

        3. The ICF, CPF, and any accompanying records shall be deemed served on Defendants on

           the date they are made available to them electronically through the LMIExchange platform.

           No paper service will be permitted.

        4. Plaintiffs and Defendants, through authorized persons acting on their behalf, shall each pay

           50% of the cost for said vendors, including but not limited to the chosen ICF/CPF

           repository and chosen medical record retrieval company(ies). 2 The agreement with the

           hosting platform and vendors shall contain strict confidentiality provisions.

        5. As of the date the Registry expires, Claimants shall elect whether to file their claims, and

           provide notice to Defendants thereof. Further, Registry participants shall be obligated to

           supplement their CPFs in a manner to be later agreed by the parties. Registry participants

           and Plaintiffs will have forty-five (45) days from the date the Registry expires to

           supplement their CPFs. Failure to supplement the CPF within forty-five (45) days, absent

           good cause shown, shall be subject to sanctions, up to and including dismissal of the case.

        6. In return for completing CPFs and accompanying documentation for filed Plaintiffs and

           registered Claimants, the parties agree that Plaintiffs are not required to complete Plaintiff

           Fact Sheets at this time. The Court anticipates that one benefit of the CPF is that the Court

           will have better information to tailor individual-specific discovery, including Plaintiff and

           Defendant Fact Sheets and motion practice in light of the data analytics it yields. While



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     For costs allocated to Defendants under this paragraph, it is expected that defense leadership
    will establish a proportional cost-sharing arrangement among all Defendants.

                                                    15
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 16 of 22




           the Court recognizes that if only a certain number of cases are filed after the Registry

           expires this benefit may not be realized; if this litigation is as large as Plaintiffs project it

           may be, analytics will allow the Court to use sampling mechanisms to determine

           subsequent discovery mechanisms necessary to ensure the parties are able to most

           efficiently gather the information needed to advance this litigation.

       7. In order to effectuate a dynamic, workable census procedure, the Court anticipates the

           parties may need to revise or modify the ICF and the CPF, as well as the vendor software

           interface application as the program is established. For convenience and efficiency, the

           Court hereby authorizes Mike McGlamry and Adam Pulaski on behalf of Plaintiffs and

           interim Defense Leadership on behalf of Defendants to negotiate and agree to such

           revisions or modifications, with the assistance of Special Master Jaime Dodge. If the

           parties and Special Master are in agreement, the clarification or modification may be

           implemented without the need for supplemental Court approval.

       8. Nothing in this Order or the parties’ participation in the census process shall impact any

           party’s rights or positions, including with respect what evidence constitutes sufficient proof

           of usage or injury and with respect to any future discovery, or scope of said discovery, such

           as future plaintiff/defense fact sheets or document production, except to the extent that it

           is expressly set forth herein.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 2nd day of

    April, 2020.


                                                    _______________________________________
                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE



                                                      16
  Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 17 of 22
                                                        EXHIBIT A
IDENTIFYING INFORMATION:

Name: _________________________________

DOB: _________________________________

SS# (last four digits): _____________________

 COUNSEL INFORMATION:

 1.Counsel responsible for completion of this form:
 • Name:___________________________________________
 • Law Firm:_______________________________________
 • Best Phone Number:_______________________________
 • E-mail:__________________________________________

 2.If the plaintiff is represented by any other lawyer/law firm which has submitted an application for leadership,
 please identify all:
 • Name:_____________________________________Law Firm:____________________________________


MANDATORY QUESTIONNAIRE REGARDING ALLEGED ZANTAC (RANITIDINE) INJURIES:

State of Residence: _________________

Age: ______________

   1. Did you use prescription Zantac? Yes _____       No _____
   2. Did you use prescription ranitidine (generic Zantac)? Yes _____ No _____
   3. Did you use over the counter Zantac? Yes _____            No _____
   4. Did you use over the counter ranitidine (generic Zantac)? Yes _____            No _____


   5. Approximate date you started taking Zantac/ranitidine products (month/year): ______________
       Approximate date you stopped taking (month/year): __________________

   6. If the plaintiff is alleging a physical injury, indicate the plaintiff’s alleged injury(ies) the plaintiff claims were
      caused by Zantac/ranitidine usage:

         Bladder Cancer                                               Ovarian Cancer
         Breast Cancer                                                Pancreatic Cancer
         Colorectal Cancer                                            Uterine Cancer
         Esophageal Cancer                                            Stomach Cancer
         Intestinal Cancer                                            Testicular Cancer
         Kidney Cancer                                                Death Related to Cancer
         Liver Cancer                                                 Other (please describe): _____________________
         Lung Cancer

       Approximate date of diagnosis (month/year): ____________ (for each physical injury alleged)
  Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 18 of 22
    7. If the plaintiff has not sustained a physical injury, please indicate the type of claim(s) that plaintiff is asserting:
          Medical Monitoring
          Economic Loss
          Other (please describe): ______________________________________________________

For Filed Cases:
   8. Case name:
   9. Case number:
   10. Name of the court in which the complaint was initially filed:

    11. Proof of Physical Injury:
    • Medical diagnosis records: [check one]
            o received;
            o requested but none yet received (approximate date of request or first request);
            o not yet requested
    • Attached proof document: [check one]
            o medical diagnosis record attached;
            o other medical record or third-party document attached;
            o client certification of diagnosis and approximate date (year and month, as best the client can recall);
            o letter attached from counsel (with approximate date on which first records request was made and
                explaining why client certification is also not available at this time)

    12. Proof of Use:
    • Proof of Use/ Purchase Records: [check one]
            o received;
            o some or all records have been requested but none yet received (approximate date of request or first
                request); or
            o no request for records yet submitted
    • Attached proof document: [check one]
            o Proof of purchase record attached;
            o medical record showing prescription attached;
            o other medical record showing use attached – e.g. self-report of use to doctor or hospital;
            o client certification regarding Zantac use attached; or
            o letter attached from counsel explaining why no documentation of alleged use is available at this time

For Unfiled cases:
   13. Proof of Physical Injury
   • I have obtained at least one medical record showing diagnosis of this client
   • I have requested medical records for this client, but not yet received the documents
   • I am still investigating this client’s allegations, and therefore have not requested records
   • I am considering enrolling this client in the Registry, and therefore have not yet requested records in order to
       ensure I minimize his/her costs in this litigation

    14. Proof of Use
    • I have obtained proof of use records for this client
    • I have requested proof of use records for this client
    • I anticipate there may be ways to locate proof of use, but am still working with the client to determine which
        avenues may be most effective given his/her particular usage pattern and the duration for which the relevant third-
        parties hold this data
    • I am considering enrolling this client in the Registry, and therefore have not yet requested records in order to
        ensure I minimize his/her costs in this litigation
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 19 of 22



                                                 EXHIBIT B

                                 ZANTAC (RANITIDINE) CENSUS PLUS

    A. CASE DETAILS

        1. Has this case been filed?

        If Yes:
           2. Case name:                                                     ____________
           3. Case number:                                                          ______
           4. Name of the court in which the complaint was initially filed:
           5. Filing date of the complaint:
           6. Named plaintiff(s) in the complaint:
               a. Zantac User:                                               ____________
               b. Derivative Plaintiff (spouse, etc.)/ Other: __________________________
           7. Named defendant(s) in the complaint:
           8. Name of the counsel responsible for completion of this form, firm name, address, phone
               number, and email address:
           9. Other firm(s) representing the plaintiff(s), address, phone number, and email address:
               __________________________________________________________________

        If No:
           10. Was counsel retained prior to the date the court appointed the PSC? Yes/ No
                   If no, select the year and quarter of retention (from dropdown)
           11. Claimant (Zantac user):
           12. Derivative claimants (spouse, etc.):__________________
           13. Anticipated defendant(s) based on investigation to date:
           14. Name of the counsel responsible for completion of this form, firm name, address, phone
               number, and email address:
           15. Other firm(s) representing the plaintiff(s), address, phone number, and email address:
               __________________________________________________________________


    B. ZANTAC USER INFORMATION1

        16. Any alias used from start of Zantac usage:
        17. Date of birth:
        18. Last 4 of SSN:
        19. Current Address:                         City: ____________ State: ______ Zip:
        20. Phone: __________________________
        21. Email: ________________________
        22. What is your sex? Female          Male      Other
        23. Marital status [drop down menu – single, married, divorced, separated, widowed]
        24. Do you have children?      Yes      No
             a. If yes, how many? ______________

    1
             For questions in this section directed to “you,” please provide responses for the Zantac
    user.

                                                       1
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 20 of 22



     25. Please provide your occupation(s) and dates of employment: _____________
     26. Have you ever filed for bankruptcy? Yes            No
           a. If yes, list year and state of filing: ___________________
     27. Is the Zantac user deceased? Yes            No
     28. Is this claim being brought by a representative for the Zantac user? Yes No.

       If yes:
          a. Reason for representative (dropdown: minor, incapacitated, or deceased)
          b. Name of representative:
          c. Relationship of the representative to the Zantac user:
          d. Representative’s date of birth: ____________________
          e. Representative’s Social Security No. (last 4): _______________________
          f. Representative’s Phone: ________________
          g. Representative’s Email: ______________________________________________
          h. Address of Representative:                    City: ____________ State: ____ Zip: _____

    C. ZANTAC USAGE INFORMATION
     29. Approximate FIRST use of Zantac: _______(month) _______ (year)
     30. Approximate LAST use of Zantac: _______(month) _______ (year)
     31. State(s) of residence during Zantac use: ______ Appx. Dates (month/year): _____
     32. Condition(s) that prompted the use of Zantac: [drop down menu with conditions]

     33. Identify ALL Zantac products used to the best of your present recollection:
            Zantac (Injection)                    Ranitidine                           Ranitidine Capsule
            Zantac (Syrup)                      Suspension                             Other Brand/Generic:
            Zantac (Tablets and                   Ranitidine Syrup                   __________________
           Capsules)                              Ranitidine Tablets
            Ranitidine Injection                and Capsules

    For each product, the following questions will appear:
           a. Identify the dosage(s) used [drop down menu with dosages and a do not recall option]
           b. Duration of usage, to the best of your present recollection (approximate month/year to
               month/year, or year started/stopped if month is not recalled)
           c. Frequency of usage: Daily         Weekly     Occasional       Periods of Non-Use (at least 3
               months without use)      Other (describe):
           d. How did you obtain it? Prescription Over the counter Both

          If Prescription:
           e. List prescribing doctor(s) and address(es): ______________
           f. Do you have prescription record(s)?          Yes      No
           g. If yes, upload record(s). If no, were records requested through the Registry vendor or
               by counsel directly? [checkbox with month/year]
           h. Might you have used your health insurance to purchase your prescription? Yes        No
                    i. If yes, please identify insurer: ________________________

         If OTC:
           i. Was over-the counter Zantac recommended by a health care provider?
                Yes     No     If yes, identify the physician(s) or provider(s) and address: ________


                                                      2
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 21 of 22




          j.   Name and address(es) of pharmacy(ies)/stores/online sellers where over-the-counter
               Zantac was purchased:_______________________________
                  1) Do you have a loyalty or rewards card at the pharmacy or other place of
                      purchase? Yes             No
                  2) If yes, please check the appropriate box:
                               Records requested through the Registry vendor on [month/year];
                               Records requested by counsel directly on [month/year]; or
                               Counsel anticipates no records exist.
                  3) Do you have any record(s) showing any of your purchases?        Yes      No
                    If yes, upload record(s).
                  4) Might you have used your health savings account, etc. to purchase your over-the-
                      counter medication?
                             Yes     No If yes, please identify plan(s): ________________________

         For Both OTC and Rx:
          k. Was Zantac used/administered in a hospital or in-patient facility?   Yes       No
                 If YES, describe use: Oral            Intravenous     Injection
          l. Do you have any medical records reflecting your use of Zantac? Yes         No.
                  i. If yes, upload record(s).
                 ii. If no (select box and type in date):
                         1. records requested through Registry vendor on __; or
                         2. records requested by counsel/ counsel’s vendor on or about __;
                         3. records not expected to exist.
          m. Do you have any records reflecting your purchase of Zantac? Yes         No
                iii. If yes, upload record(s).
                iv. If no (select box and type in date):
                         1. records requested through Registry vendor on __; or
                         2. records requested by counsel/ counsel’s vendor on or about __;
                         3. records not expected to exist.

    D. PHYSICAL INJURY INFORMATION
       1. Risk Factors [drop-down menu with common cancer risk factors, e.g, smoking]
       2. Did you experience wage loss as a result of your injury(ies)? Yes           No
              If yes, please identify the lost wages:_____________
       3. Were you diagnosed with any type of cancer before you began using Zantac? Yes                No
              If yes, please identify the type(s) of cancer and date(s) of diagnosis: _____________
       4. Indicate the user’s alleged injury(ies) the plaintiff(s) claims were caused by Zantac/ranitidine
          usage:
                 Bladder Cancer                                        Ovarian Cancer
                 Breast Cancer                                         Pancreatic Cancer
                 Colorectal Cancer                                     Uterine Cancer
                 Esophageal Cancer                                     Stomach Cancer
                 Intestinal Cancer                                     Testicular Cancer
                 Kidney Cancer                                         Death Related to Cancer
                 Liver Cancer                                          Other: _______________
                 Lung Cancer




                                                      3
Case 9:20-md-02924-RLR Document 547 Entered on FLSD Docket 04/02/2020 Page 22 of 22




    For each cancer/ injury marked, the following questions will be shown:

                a. Initial Diagnosis Date: _____________
                b. Stage of Cancer at Diagnosis: _______
                c. Stage of Cancer currently: _________
                d. Do you have a family history (parents, grandparents, or siblings) of the identified
                   cancer?
                     Yes       No          If yes, please identify relative: [drop down menu]
                e. Risk Factors for specific cancer alleged [drop-down menu]

        5. Check one:
              a. I have uploaded the isolated medical record(s) showing initial diagnosis and date of
                  initial diagnosis.
              b. The medical records were ordered by counsel directly, beginning in ____.
              c. The medical records are being ordered through the registry vendor, and were
                  requested on: _____

        6. Provide the name(s), specialty (general practitioner; oncologist; or other), address(es) and
            phone number(s) of your treating physician(s) or healthcare professional:
          ________________________________________________________________________



                                             CERTIFICATION

    The Zantac user must sign and date the form below (online certification):

    I declare under penalty of perjury that the following is true and correct to the best of my recollection:
    I ________________________ingested Zantac and, to the best of my knowledge, information and
    belief, I was diagnosed with cancer after I first began using Zantac.

    Date: ________________ Signature: ______________________________
    Name: _________________________________

    Alternative if the case was brought by a representative:
    The Zantac user’s representative must sign and date the form below (online certification):

    I declare under penalty of perjury that the following is true and correct to the best of my knowledge,
    information and belief: _____________ (Zantac user) ingested Zantac and was diagnosed with
    cancer after he/she first began using Zantac.

    Date: ________________ Signature: ______________________________
    Name: _________________________________




                                                        4
